                                              United States Bankruptcy Court
                                             Middle District of Pennsylvania
In re:                                                                                                     Case No. 20-02096-HWV
Allen Corral                                                                                               Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0314-1                  User: AutoDocke                    Page 1 of 1                          Date Rcvd: Sep 15, 2020
                                      Form ID: pdf010                    Total Noticed: 17


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 17, 2020.
db             +Allen Corral,    2247 Brigade Road,   Enola, PA 17025-1473
5342827        +Amex/Bankruptcy,    Correspondence/Bankruptcy,    Po Box 981540,   El Paso, TX 79998-1540
5342828        +Bank of America,    4909 Savarese Circle,    Fl1-908-01-50,   Tampa, FL 33634-2413
5342829         Citibank/Student Loan,    Citibank SD - MC425,    5800 South Corp Place,   Sioux Falls, SD 57108
5342834        +Midland Funding,    320 East Big Beaver,    Troy, MI 48083-1271
5342833        +Midland Funding,    Attn: Bankruptcy,    350 Camino De La Reine Ste 100,
                 San Diego, CA 92108-3007
5342837        +Reliant Cap,   750 Cross Pointe Rd,    Gahanna, OH 43230-6691
5342839        +Target,   c/o Financial & Retail Srvs,     Mailstop BT POB 9475,   Minneapolis, MN 55440-9475
5342840        +U.S. Department of Education,    Ecmc/Bankruptcy,    Po Box 16408,   Saint Paul, MN 55116-0408

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Sep 15 2020 20:07:04
                 PRA Receivables Management, LLC,    PO Box 41021,    Norfolk, VA 23541-1021
5342830        +E-mail/Text: mrdiscen@discover.com Sep 15 2020 20:00:20       Discover Financial,
                 Attn: Bankruptcy,   Po Box 3025,    New Albany, OH 43054-3025
5342831        +E-mail/Text: bknotice@ercbpo.com Sep 15 2020 20:00:48       Enhanced Recovery Corp,
                 Attn: Bankruptcy,   8014 Bayberry Road,     Jacksonville, FL 32256-7412
5342832        +E-mail/Text: PBNCNotifications@peritusservices.com Sep 15 2020 20:00:20        Kohls/Capital One,
                 Attn: Credit Administrator,    Po Box 3043,    Milwaukee, WI 53201-3043
5342835         E-mail/Text: bankruptcy@nationalcreditsystems.com Sep 15 2020 20:00:17
                 National Credit Systems, Inc.,    Attn: Bankruptcy,    Po Box 312125,    Atlanta, GA 31131
5342836         E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Sep 15 2020 20:06:36
                 Portfolio Recovery,   Attn: Bankruptcy,     120 Corporate Blvd,    Norfold, VA 23502
5342838        +E-mail/PDF: resurgentbknotifications@resurgent.com Sep 15 2020 20:07:10
                 Resurgent Capital Services,    Attn: Bankruptcy,    Po Box 10497,    Greenville, SC 29603-0497
5343004        +E-mail/PDF: gecsedi@recoverycorp.com Sep 15 2020 20:06:03        Synchrony Bank,
                 c/o PRA Receivables Management, LLC,    PO Box 41021,    Norfolk, VA 23541-1021
                                                                                               TOTAL: 8

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
5342826           Americas Cu, A Fcu
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 17, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 14, 2020 at the address(es) listed below:
              Brad J. Sadek   on behalf of Debtor 1 Allen Corral brad@sadeklaw.com
              Lawrence G. Frank (Trustee)   lawrencegfrank@gmail.com, PA39@ecfcbis.com
              United States Trustee   ustpregion03.ha.ecf@usdoj.gov
                                                                                            TOTAL: 3




        Case 1:20-bk-02096-HWV Doc 15 Filed 09/17/20 Entered 09/18/20 00:34:36                                                 Desc
                             Imaged Certificate of Notice Page 1 of 3
                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

   IN RE:                                        :       CHAPTER 7
                                                 :
   ALLEN CORRAL,                                 :       CASE NO. 1:20-bk-02096-HWV
                                                 :
                  Debtor                         :
                                                 :
   ANDREW R. VARA                                :
   UNITED STATES TRUSTEE,                        :
                                                 :
                  Movant                         :
                                                 :
                  vs.                            :
                                                 :
   ALLEN CORRAL,                                 :
                                                 :
                  Respondent                     :

                        STATEMENT AND NOTICE OF PRESUMED ABUSE

           As required by 11 U.S.C. § 704(b)(1)(A), the United States Trustee has reviewed the
   materials filed by the Debtor. Having considered these materials in reference to the criteria set
   forth in 11 U.S.C. § 707(b)(2)(A), and pursuant to 11 U.S.C. § 704(b)(2), the United States Trustee
   has determined that: (1) the Debtor’s case should be presumed to be an abuse under 11 U.S.C. §
   707(b); and (2) the product of the Debtor’s current monthly income, multiplied by 12, is not less
   than the requirements specified in 11 U.S.C. §§ 704(b)(2)(A) or (B).

            As required by 11 U.S.C. § 704(b)(2) the United States Trustee shall, not later than 30
   days after the date of the filing of this Statement, either file a motion to dismiss or convert under
   11 U.S.C. § 707(b) or file a statement setting forth the reasons the United States Trustee does not
   consider such a motion to be appropriate. Debtor may rebut the presumption of abuse only if
   special circumstances can be demonstrated as set forth in 11 U.S.C. § 707(b)(2)(B).

                                                         Respectfully submitted,

                                                         ANDREW R. VARA
                                                         UNITED STATES TRUSTEE

                                                         D. Troy Sellars, Esq.
                                                         Assistant United States Trustee




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                                    By:   /s/ Gregory B. Schiller
                                          Gregory B. Schiller, Esq.
                                          Trial Attorney
                                          United States Department of Justice
                                          Office of the United States Trustee
                                          Middle District of Pennsylvania
                                          228 Walnut Street, Suite 1190
                                          Harrisburg, PA 17101
                                          Tel. (717) 221-4515
                                          Fax (717) 221-4554
                                          Email: Gregory.B.Schiller@usdoj.gov

   Dated: September 14, 2020




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